






						NO. 12-08-00321-CR



IN THE COURT OF APPEALS
	


TWELFTH COURT OF APPEALS DISTRICT



TYLER, TEXAS


CALVIN E. SQUALLS,§
		APPEAL FROM THE 7TH

APPELLANT


V.§
		JUDICIAL DISTRICT COURT OF


THE STATE OF TEXAS,

APPELLEE§
		SMITH COUNTY, TEXAS

                                                                                                                                                            

MEMORANDUM OPINION


PER CURIAM


	Appellant Calvin E. Squalls appeals his convictions of multiple convictions of aggravated
sexual assault of a child, for which he was sentenced to imprisonment for life for each offense. 
Appellant's counsel filed a brief in compliance with Anders v. California, 386 U.S. 738, 87 S. Ct.
1396, 18 L. Ed. 2d 493 (1967) and Gainous v. State, 436 S.W.2d 137 (Tex. Crim. App. 1969).  We
dismiss the appeal.

				

Background

	Appellant was charged by indictment with three counts of aggravated sexual assault of a child
and pleaded "not guilty" to each count.  Appellant waived his right to a jury trial, and a trial before
the court was conducted.  Ultimately, the trial court found Appellant "guilty" as charged on each
count and, following a bench trial on punishment, sentenced Appellant to imprisonment for life for
each offense.  This appeal followed.



Analysis Pursuant to Anders v. California

	Appellant's counsel filed a brief in compliance with Anders v. California and Gainous v.
State.  Appellant's counsel states that he has diligently reviewed the appellate record and is of the
opinion that the record reflects no reversible error and that there is no error upon which an appeal
can be predicated.  He further relates that he is well acquainted with the facts in this case.  In
compliance with Anders, Gainous, and High v. State, 573 S.W.2d 807 (Tex. Crim. App. [Panel Op.]
1978), Appellant's brief presents a chronological summation of the procedural history of the case
and further states that Appellant's counsel is unable to raise any arguable issues for appeal. (1)  We
have likewise reviewed the record for reversible error and have found none.

									

Conclusion

	As required by Stafford v. State, 813 S.W.2d 503 (Tex. Crim. App. 1991), Appellant's
counsel has moved for leave to withdraw.  See also In re Schulman, 252 S.W.3d 403, 407 (Tex.
Crim. App. 2008) (orig. proceeding).  We carried the motion for consideration with the merits. 
Having done so and finding no reversible error, Appellant's counsel's motion for leave to withdraw
is hereby granted and the appeal is dismissed. (2)

Opinion delivered August 19, 2009.

Panel consisted of Worthen, C.J., Griffith, J., and Hoyle, J.



(DO NOT PUBLISH)
1.  Counsel for Appellant certified that he provided Appellant with a copy of this brief.  Appellant was given
time to file his own brief in this cause.  The time for filing such a brief has expired and we have received no pro se
brief.
2.  Counsel has a duty to, within five days of the date of this opinion, send a copy of the opinion and
judgment to Appellant and advise him of his right to file a petition for discretionary review.  See Tex. R. App.  P.
48.4; In re Schulman, 252 S.W.3d at 411 n.35.  Should Appellant wish to seek review of this case by the Texas
Court of Criminal Appeals, he must either retain an attorney to file a petition for discretionary review on his behalf
or he must file a petition for discretionary review pro se.  Any petition for discretionary review must be filed within
thirty days from the date of either this opinion or the last timely motion for rehearing that was overruled by this
court.  See Tex. R. App. P. 68.2.  Any petition for discretionary review must be filed with this court, after which it
will be forwarded to the Texas Court of Criminal Appeals along with the rest of the filings in this case.  See Tex. R.
App. P. 68.3.  Any petition for discretionary review should comply with the requirements of Texas Rule of Appellate
Procedure 68.4.  See In re Schulman, 252 S.W.3d at 408 n.22.


